
412 So.2d 1113 (1982)
UNITED STATES FIDELITY GUARANTY COMPANY
v.
VICTORY LAND COMPANY, INC., Tupper Supply Co., John P. Hall, Jr. and John P. Hall, Sr., Junior Hall, III and General Accident Insurance Company and New Orleans Public Service, Inc.
SECURITY INSURANCE COMPANY, et al.
v.
NEW ORLEANS PUBLIC SERVICE, INC., et al.
FEDERAL INSURANCE COMPANY, et al.
v.
NEW ORLEANS PUBLIC SERVICE INC., et al.
FIREMAN'S FUND INSURANCE COMPANY
v.
NEW ORLEANS PUBLIC SERVICE INC., et al.
No. 82-C-0608.
Supreme Court of Louisiana.
March 26, 1982.
Denied.
DIXON, C. J., dissents from the refusal of the Court to apply sanctions for the use of intemperate accusations in the brief.
